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                                                                                               E-FILED
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                                                           Clerk, U.S. District Court, ILCD
                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS

STEVEN D. LISLE, JR.,                     )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )       No. 17-1577-CSB
                                          )
                                          )
P. SMITH, et al.,                         )
                                          )
                     Defendants.          )

                                         ORDER

COLIN S. BRUCE, U.S. District Judge:

       This cause is before the Court on Defendants’ motion for summary judgment on

the issue of exhaustion of administrative remedies. Because Plaintiff Steven D. Lisle, Jr.,

failed to exhaust properly his administrative remedies prior to filing this suit,

Defendants are entitled to the summary judgment that they seek.

                                         I.
                                   MATERIAL FACTS

       Plaintiff Steven Lisle, Jr., is an inmate with the Illinois Department of Corrections

(“IDOC”). During the relevant time, Lisle was being housed at the IDOC’s Pontiac

Correctional Center (“Pontiac”). On January 11, 2018, the Court granted Lisle’s motion

for leave to file an amended complaint. On January 31, 2018, the Court determined that

Lisle’s Amended Complaint stated claims for excessive force, for retaliation in violation

of his First Amendment rights, for failure to protect him from the excessive force, for

cruel and unusual punishment based upon the conditions of his confinement, and for

deliberate indifference to his serious medical needs.

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       Lisle is a frequent litigator in this Court and in other federal courts. So, before he

filed this suit, Lisle submitted a relevant grievance dated November 16, 2017.

Defendants have now moved for summary judgment arguing that Lisle did not fully

exhaust his administrative remedies with regard to this grievance.

                                 II.
                STANDARDS GOVERNING SUMMARY JUDGMENT

       Federal Rule of Civil Procedure 56(a) provides that summary judgment shall be

granted if the movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a); Ruiz-Rivera v.

Moyer, 70 F.3d 498, 500-01 (7th Cir. 1995). The moving party has the burden of providing

proper documentary evidence to show the absence of a genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). Once the moving party has met its

burden, the opposing party must come forward with specific evidence, not mere

allegations or denials of the pleadings, which demonstrates that there is a genuine issue

for trial. Gracia v. Volvo Europa Truck, N.V., 112 F.3d 291, 294 (7th Cir. 1997). “[A] party

moving for summary judgment can prevail just by showing that the other party has no

evidence on an issue on which that party has the burden of proof.” Brazinski v. Amoco

Petroleum Additives Co., 6 F.3d 1176, 1183 (7th Cir. 1993). “As with any summary

judgment motion, we review cross-motions for summary judgment construing all facts,

and drawing all reasonable inferences from those facts, in favor of the nonmoving

party.” Laskin v. Siegel, 728 F.3d 7314, 734 (7th Cir. 2013)(internal quotation marks

omitted).



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       Accordingly, the non-movant cannot rest on the pleadings alone, but must

designate specific facts in affidavits, depositions, answers to interrogatories or

admissions that establish that there is a genuine triable issue; he must do more than

simply show that there is some metaphysical doubt as to the material fact. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 261 (Brennan, J., dissenting) (1986)(quoting Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)); Hot Wax, Inc. v. Turtle Wax,

Inc., 191 F.3d 813, 818 (7th Cir. 1999). Finally, a scintilla of evidence in support of the

non-movant’s position is not sufficient to oppose successfully a summary judgment

motion; “there must be evidence on which the jury could reasonably find for the [non-

movant].” Anderson, 477 U.S. at 252.

                                    III.
                      STANDARDS GOVERNING EXHAUSTION

       Furthermore, the Prison Litigation Reform Act requires an inmate to exhaust the

available administrative remedies before filing a § 1983 lawsuit. 42 U.S.C. § 1997e(a)

(“[n]o action shall be brought with respect to prison conditions . . . by a prisoner . . .

until such administrative remedies as are available are exhausted.”); Massey v. Wheeler,

221 F.3d 1030, 1034 (7th Cir. 2000). Exhaustion is mandatory. Woodford v. Ngo, 548 U.S.

81, 95 (2006)(“The benefits of exhaustion can be realized only if the prison grievance

system is given a fair opportunity to consider the grievance. The prison grievance

system will not have such an opportunity unless the grievant complies with the

system’s critical procedural rules.”); Dole v. Chandler, 43 F.3d 804, 809 (7th Cir. 2006).

       No futility, sham, or substantial compliance exception exists to this requirement,



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and a plaintiff seeking only monetary damages for ongoing conditions must still utilize

the grievance procedure in place before filing suit. Massey, 259 F.3d at 646 (inmate

alleging failure to repair a hernia timely must exhaust administrative remedies even

though surgery was performed and only money damages claim remained); Booth v.

Churner, 532 U.S. 731, 736-37 (2001)(the PLRA requires administrative exhaustion even

where grievance process does not permit award of money damages, if “some action” in

response to a grievance can be taken). Likewise, the exhaustion requirement includes

claims that only seek equitable relief. Falcon v. United States Bureau of Prisons, 52 F.3d

137, 139 (7th Cir. 1995).

       Exhaustion means properly and timely taking each step in the administrative

process established by the applicable procedures. Pozo v. McCaughtry, 286 F.3d 1022,

1025 (7th Cir. 2002)(failure to file timely administrative appeal constitutes failure to

exhaust administrative remedies and bars a § 1983 suit). “[I]f a prison has an internal

administrative grievance system through which a prisoner can seek to correct a

problem, the prisoner must utilize that administrative system before filing a claim.”

Massey v. Helman, 196 F.3d 727, 733 (7th Cir. 1999). A dismissal for failure to exhaust is

without prejudice, so reinstatement is not barred unless the time for exhaustion has

expired. Walker v. Thompson, 288 F.3d 1005, 1009 (7th Cir. 2002).

       If issues of fact exist in determining whether an inmate has exhausted his

administrative remedies, a judge should hold a hearing and resolve these factual

disputes. Pavey v. Conley, 544 F.3d 739, 742 (7th Cir. 2008). The Court is permitted to

make findings of fact and credibility assessments of witnesses at such an evidentiary


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hearing. Pavey v. Conley, 663 F.3d 899, 904 (7th Cir. 2011). If the Court finds that the

prisoner exhausted his administrative remedies, “the case will proceed to pretrial

discovery, and if necessary a trial, on the merits.” Pavey, 544 F.3d at 742. If the Court

finds that the prisoner did not exhaust his administrative remedies, the Court

determines whether: (a) the plaintiff has unexhausted remedies, and so he must go back

and exhaust; (b) or, although he has no unexhausted remedies, the failure to exhaust

was innocent (as where prison officials prevent a prisoner from exhausting his

remedies), in which event he will be allowed to go back and exhaust; or (c) the failure to

exhaust was the prisoner’s fault, in which event the case is over. Id. No evidentiary

hearing is necessary, however, if there are “no disputed facts regarding exhaustion”

and “only a legal question” is presented. Doss v. Gilkey, 649 F. Supp. 2d 905, 912 (S.D. Ill.

2009).

         Illinois has established an internal administrative grievance system for prisoners

to complete in order to correct a problem that the prisoner encounters within the prison

setting. 20 Ill. Admin. Code § 504.810 et seq. Under the current grievance procedures, a

prisoner may file a written grievance with his grievance officer within sixty (60) days of

discovery of the dispute. Id. The grievance should include “factual details regarding

each aspect of the offender’s complaint, including what happened, when, where, and

the name of each person who is the subject of or who is otherwise involved in the

complaint . . . [or] as much descriptive information about the individual as possible.” Id.

         The grievance officer is then required to review the grievance and report

findings and recommendations to the Chief Administrative Officer (“CAO”). 20 Ill.


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Adm. Code § 504.810(c). The prisoner then has the opportunity to review the CAO’s

response. 20 Ill. Adm. Code § 504.830(e). If the prisoner is unsatisfied with the

institution’s resolution of the grievance, he may file an appeal to the Director through

the Administrative Review Board (“ARB”) within thirty (30) days of the CAO’s

decision. 20 Ill. Adm. Code § 504.850. The ARB is required to make a final

determination of the grievance within six months after receiving it. Id. Completion of

this process exhausts a prisoner’s administrative remedies.

                                 IV.
      PLAINTIFF FAILED TO EXHAUST PROPERLY HIS ADMINISTRATIVE
                  REMEDIES PRIOR TO FILING THIS SUIT

       Lisle failed to exhaust properly his administrative remedies prior to filing this

suit. Specifically, Lisle failed to obtain a final determination from the Administrative

Review Board (“ARB”) on his November 16, 2017 grievance. Accordingly, Defendants

are entitled to summary judgment because Lisle failed to exhaust his administrative

remedies against them.

       “To exhaust remedies, a prisoner must file complaints and appeals in the place,

and at the time, the prison’s administrative rules require.” Pozo, 286 F.3d at 1025. “[A]

prisoner who does not properly take each stop within the administrative process has

failed to exhaust state remedies, and thus is foreclosed by § 1997e(a) from litigating.” Id.

“[P]ursuing a premature, procedurally flawed grievance through the entire

administrative process does not constitute exhaustion. The rules governing the filing

and prosecution of a grievance, including the appeal, must be followed to achieve

exhaustion; substantial compliance is insufficient.” Wilder v. Sutton, 2008 WL 515506, * 9


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(S.D. Ill. Feb. 22, 2008)(citing Lewis v. Washington 300 F.3d 829, 833-834 (7th Cir. 2002)).

       Lisle has failed to identify or to present the Court with a final determination from

the Director or from the ARB regarding the denial of his November 16, 2017 grievance.

As such, Lisle failed to exhaust his administrative remedies.

       The only correspondence from the ARB regarding Lisle’s November 16, 2017

grievance does not constitute a final determination for exhaustion purposes. The ARB’s

notice to Lisle requested more information so that the ARB can make a proper, final

determination on his November 16, 2017 grievance. Lisle has offered no evidence, and

he does not even assert, that he provided the ARB with the additional information that

the ARB sought. More importantly, Lisle does not offer any evidence that the ARB

issued a final determination after receiving any supplement provided by Lisle.

       The purpose of a grievance procedure in a prison setting is to allow a prisoner to

resolve his issues or disputes with prison officials and staff at the institutional level

without having to seek judicial help. Dettlaff v. Wayne, 2018 WL 5793596, * 10 (W.D. Wis.

Nov. 5, 2018)(citing Woodford v. Ngo, 548 U.S. 81, 88-89 (2006)(“The purpose of this

exhaustion requirement is to give the prison administrators a fair opportunity to resolve

the grievance without litigation.”). By ignoring the ARB’s request for additional

documentation, Lisle thwarted the purpose of the administrative process and, thereby,

failed to exhaust his administrative remedies. Id.

       This is the conclusion reached by at least one other district court in this circuit.

In Edens v. O’Brien, 2016 WL 4191756 (N.D. Ill. Aug. 9, 2016), the United States District

Court for the Northern District of Illinois faced a situation similar to this one where the


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prisoner plaintiff failed to comply with a directive from the ARB. As it did with Lisle,

the ARB sent the plaintiff in Edens “a Return of Grievance letter requesting that he

provide: (1) a copy of his written offender’s grievance, including his Counselor’s

response; and (2) a copy of the response to the offender’s grievance, including the

Grievance Officer’s response and the Chief Administrative Officer’s response.” Id. at * 3.

Also, like Lisle, the plaintiff in Edens did not comply with the ARB’s directions. Id.

Finally, the plaintiff in Edens (like Lisle) claimed that he had exhausted his

administrative remedies even though the ARB had not issued a final determination. Id.

       The Northern District cited to and considered the relevant case law on this issue

written by the United States Court of Appeals for the Seventh Circuit. In the end, the

Northern District concluded that the plaintiff in Edens had failed to exhaust his

administrative remedies prior to filing suit:

       [P]laintiff here made no attempt to comply with [the ARB’s] instruction.
       While plaintiff was arguably entitled to ignore Warden Chandler’s
       directive to resubmit his grievance by filing his appeal, it would be
       contrary to Seventh Circuit precedent to find that he was entitled to ignore
       the ARB’s instructions to submit additional information. . . . In Ford v.
       Johnson, 362 F.3d 395 (7th Cir. 2004), the Seventh Circuit noted that where a
       prisoner filed an appeal to the ARB, the ARB asked for additional
       information, and the prisoner refused to provide it, he had abandoned his
       grievance. See id. at 397 (noting that “[s]imilar reasoning supports
       dismissal of a civil suit for failure to prosecute. No rule of law requires a
       plaintiff to testify (or give a deposition) in his own suit, but failure to do so
       may justify a termination on procedural grounds without reaching the
       merits. Just as courts may dismiss suits for failure to cooperate, so
       administrative bodies may dismiss grievances for lack of cooperation; in
       either case this procedural default blocks later attempts to litigate the
       merits.”). Moreover, in Cannon v. Washington, 418 F.3d 714 (7th Cir. 2005),
       the Seventh Circuit found that a grievant failed to exhaust remedies for an
       untimely grievance when he “ignored both of the ARB's instructions
       concerning the form of his response” and “fail[ed] to take advantage of


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       the procedure offered by the ARB for reconsidering the grievance.” Id. at
       718; see also Dole v. Chandler, 438 F.3d 804, 811 (7th Cir. 2006)(recognizing
       that the plaintiff in Cannon had failed to exhaust because after his initial
       procedural error, “he did not follow the ARB’s explicit instructions to
       rectify his original mistake”).

       Here, the ARB’s explicit instructions called for some response. If plaintiff
       did not believe he was required to submit the requested documents
       because he only sought to appeal the denial of emergency status, he
       should have so informed the ARB and awaited a determination. If he was
       attempting a merits review, he should have complied with the
       instructions by attempting to resubmit his grievance through the normal
       procedure. While plaintiff may believe that he did all that was required,
       what constitutes a proper appeal is not up to plaintiff; it is up to the
       prison. See Strong v. David, 297 F.3d 646, 649 (7th Cir. 2002)(holding that
       “grievances must contain the sort of information that the administrative
       system requires” and that “[i]t is up to the administrators to determine
       what is necessary to handle grievances effectively”); Pozo v. McCaughtry,
       286 F.3d 1022, 1025 (7th Cir. 2002)(“Prisons are unlikely to entertain many
       appeals . . . by prisoners who . . . thumb their noses at the specified
       procedures.”).

Id. at * 9 (footnote omitted).

       Just like the plaintiff in Edens, Lisle received specific instructions from the ARB to

submit additional information. Just like the plaintiff in Edens, Lisle ignored the ARB’s

directions. So just like the plaintiff in Edens, Lisle has failed to exhaust his

administrative remedies, and Defendants are entitled to the summary judgment that

they seek.

       Lisle’s argument as to why the Court should deny Defendants’ motion misses the

point. Lisle claims that he was not required to start the grievance process anew once his

emergency grievance was denied as not constituting an emergency.

       But that is not Defendants’ arguments, and that is not what happened here. The

ARB did not instruct Lisle to begin the process again because his grievance did not


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constitute an emergency. The ARB instructed Lisle to provide it with specific

information so that it could resolve his appeal of his November 16, 2017 grievance.

Lisle ignored the ARB’s instructions and, instead, filed this lawsuit. In so doing, Lisle

failed to exhaust properly his administrative remedies, and Defendants are entitled to

the summary judgment that they seek.

IT IS, THEREFORE, ORDERED:

       1.     Defendants’ motion for summary judgment on the issue of exhaustion

of administrative remedies [55] is GRANTED. The Clerk of the Court is directed to

enter judgment in Defendants’ favor and against Plaintiff. All other pending

motions are denied as moot, and this case is terminated with the Parties to bear their

own costs. All deadlines and settings on the Court’s calendar are vacated.

       2.     If Plaintiff wishes to appeal this judgment, he must file a notice of

appeal with this Court within thirty (30) days of the entry of judgment. Fed. R. App.

P. 4(a)(4).

       3.     If Plaintiff wishes to proceed in forma pauperis on appeal, his motion

for leave to appeal in forma pauperis must identify the issues that he will present on

appeal to assist the Court in determining whether the appeal is taken in good faith.

Fed. R. App. P. 24(a)(1)(c); Celske v. Edwards, 164 F.3d 396, 398 (7th Cir. 1999)(an

appellant should be given an opportunity to submit a statement of his grounds for

appealing so that the district judge “can make a responsible assessment of the issue

of good faith.”); Walker v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000)(providing that a

good faith appeal is an appeal that “a reasonable person could suppose . . . has some



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merit” from a legal perspective). If Plaintiff chooses to appeal, he will be liable for

the $505.00 appellate filing fee regardless of the outcome of the appeal.



ENTERED this 22nd day of April, 2019



                                              s/ Colin S. Bruce___________
                                              COLIN S. BRUCE
                                         UNITED STATES DISTRICT JUDGE




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